                                Case 20-03195-sgj Doc 81 Filed 08/19/21          Entered 08/19/21 15:36:40         Page 1 of 1
BTXN 208 (rev. 07/09)
IN RE: Official Committee of Unsecured            Motion To Further Extend the Stay of the Adversary Proceeding Through October 15,         Case # 20−03195−sgj
Creditors v. CLO Holdco, Ltd. et al                       2021 filed by Official Committee of Unsecured Creditors doc. #70
DEBTOR
                                                                               TYPE OF HEARING

Official Committee of Unsecured Creditors                                                VS                                             CLO Holdco, Ltd. et al
                                                                                                                                        DEFENDANT /
PLAINTIFF / MOVANT                                                                                                                      RESPONDENT


Paige Holden Montgomery & Deborah Newman                                                                                                Louis M. Phillips
ATTORNEY                                                                                                                                ATTORNEY


                                                                                     EXHIBITS
SEE EXHIBIT LIST                                                                       SEE EXHIBIT LIST

Court Admitted Declaration of Marc S. Kirschner                                        Court Admitted Exhibits #1, And #3 Through #21




                                                                        August 19,
Michael Edmond                                                                                                     Stacey G. Jernigan
                                                                        2021
                                                                        HEARING
REPORTED BY                                                                                                       JUDGE PRESIDING
                                                                        DATE
